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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 PRIVACY INTERNATIONAL,

                    Plaintiff,

          v.                                          Civil Action No. 17-cv-01324 (DLF)

 NATIONAL SECURITY AGENCY, et al.

                    Defendants.


                                    JOINT STATUS REPORT

       On February 5, 2018, this Court entered a Minute Order requiring the parties to submit a

Joint Status Report addressing the productions by Defendants National Security Agency (“NSA”)

and the Department of State (“State”). Pursuant to that order, Defendants and Plaintiff Privacy

International by counsel respectfully submit this Joint Status Report:

                                                    NSA

       With respect to the remaining four documents in Category 1 of Plaintiff’s FOIA request (as

defined by the Parties in their previous Joint Status Report, ECF No. 12, at 1-2), NSA continues to

consult with its foreign partners to ensure that no sensitive foreign equities are released. One

foreign partner has responded. Upon completion of the review by its foreign partners, NSA will

produce any non-exempt portions of these records.

       With respect to categories 2a, 3, and 4 (as defined by the Parties in ECF No. 12), NSA

continues processing the approximately 80 documents identified as responsive. Upon completion

of internal review and coordination, the documents will be sent to NSA’s foreign partners for their

equity review. Upon completion of the review by its foreign partners, NSA will produce any non-

exempt portions of these documents.
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       With respect to category 2b of Plaintiff’s FOIA request (as defined by the Parties in ECF

No. 12), as previously explained, NSA has identified an approximately180-page document from a

2008 conference that is potentially responsive to Plaintiff’s request. See ECF Doc. 13 at 2. The

Parties have agreed that NSA will process this document and produce any non-exempt material

within the document to Plaintiff before resuming its search and production of all other conference

materials potentially responsive to category 2b of Plaintiff’s FOIA request. Id. The FOIA case

officer has completed initial redactions on this document. Further internal coordination on NSA’s

proposed redactions may be required depending on foreign partner responses to the

aforementioned four remaining documents in Category 1. After any further internal coordination,

NSA will send the document to its foreign partners for their equity review.

       Accordingly, the parties have agreed that NSA will provide an update to the Court on this

matter and any rolling productions by April 6, 2018.

                                                       State

       State made its fourth production of non-exempt records to Plaintiff on February 15, 2018.

In its response, State produced three records in full. In addition, as explained in its response, State

referred one document to the Department of Defense for a direct reply. As detailed in the parties’

previous Joint Status Reports, many of the remaining potentially responsive records contain

classified information and will require extensive interagency consultation with at least NSA and

the Department of Defense. State estimates that there are approximately 30 documents remaining

to be processed. However, State cannot provide a date certain at which point processing of all

records will be complete because the remaining responsive records require inter-agency

consultation, and potential subsequent consultation with our foreign partners. Nevertheless, State

will endeavor to provide rolling productions as expeditiously as permitted by the aforementioned

referral process, and anticipates making its next production on or around March 15, 2018.


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Accordingly, the parties have agreed that State will provide an update to the Court on this matter

and any rolling productions by April 6, 2018.

Dated: March 2, 2018                                  Respectfully submitted,

 /s/ (with permission)                               CHAD A. READLER
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